Case 4:19-cv-00421-MAC-CAN Document 10 Filed 11/02/21 Page 1 of 1 PageID #: 82




 UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


 JOSE MOISES ZAVALA-ESTRADA,                     §
 #27669-078                                      §
                                                 §
 versus                                          §   CIVIL ACTION NO. 4:19-CV-421
                                                 §   CRIMINAL ACTION NO. 4:17-CR-207(4)
                                                 §
 UNITED STATES OF AMERICA                        §

                                    ORDER OF DISMISSAL

          The above-entitled and numbered civil action was referred to United States Magistrate

 Judge Christine A. Nowak, who issued a Report and Recommendation (#9) concluding that the

 Motion to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody filed

 pursuant to 28 U.S.C. § 2255 should be denied and dismissed with prejudice. No objections

 were timely filed.

          The Court concludes that the findings and conclusions of the Magistrate Judge are

 correct, and adopts the same as the findings and conclusions of the Court.

          It is accordingly ORDERED that Movant’s Motion to Vacate, Set Aside, or Correct

 Sentence by a Person in Federal Custody (#1) pursuant to 28 U.S.C. § 2255 is DENIED and

 DISMISSED with prejudice. A Certificate of Appealability is DENIED. All motions by

 either party not previously ruled upon are DENIED.

           SIGNED at Beaumont, Texas, this 2nd day of November, 2021.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
